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        EXHIBIT 10
Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.275 Filed 08/18/20 Page 2 of 56
                                                                       1825 EYE STREET, N.W. SUITE 900
                                                                       WASHINGTON, DC 20006-5403
                                                                       TELEPHONE: (202) 457-0160
                                                                       FACSIMILE: (844) 670-6009
                                                                       http://www.dickinsonwright.com

                                                                       JENNY T. SLOCUM
                                                                       JSlocum@dickinsonwright.com
                                                                       (202) 659-6927




                                                                       June 24, 2020
 Tee Do It Better
 IP Manager
 211 N Pennsylvania St. Suite 600
 Indianapolis, IN 46204
 copyright@teedoitbetter.com

        Re:      Unauthorized Use of Carhartt’s Trademarks

 Dear Sir/Madam:

         We represent Carhartt, Inc. (“Carhartt”) in intellectual property matters. Carhartt owns
 exclusive rights in the CARHARTT name and trademark including in connection with its
 stylized “C” logo as depicted below for clothing, headwear, footwear and related items (the
 “Carhartt Marks”). Carhartt has made extensive use of these marks, including on clothing for
 over 50 years, and the marks are famous. As a result, our client has developed a significant
 reputation in connection with the Carhartt Marks.




         It has recently come to our client’s attention that you are offering for sale unauthorized
 CARHARTT branded products, including but not limited to facemasks. See
 https://www.teedoitbetter.com/stores/chstore. These clear counterfeit products include direct
 copies of Carhartt’s famous C Logo and CARHARTT mark, identical use and layout of the
 Carhartt protected font. Screenshots reflecting your sale and distribution of these unauthorized
 items are copied below and at the top of the following page (see also Exhibits):




       ARIZONA          CALIFORNIA        FLORIDA          KENTUCKY          MICHIGAN

 NEVADA          OHIO         TENNESSEE         TEXAS         TORONTO            WASHINGTON DC
Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.276 Filed 08/18/20 Page 3 of 56
                                                                DICKINSON WRIGHT PLLC
 June 24, 2020
 Page 2




      ARIZONA           CALIFORNIA       FLORIDA     KENTUCKY      MICHIGAN

 NEVADA          OHIO        TENNESSEE       TEXAS     TORONTO       WASHINGTON DC
Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.277 Filed 08/18/20 Page 4 of 56
                                                                DICKINSON WRIGHT PLLC
 June 24, 2020
 Page 3




      ARIZONA           CALIFORNIA       FLORIDA     KENTUCKY      MICHIGAN

 NEVADA          OHIO        TENNESSEE       TEXAS     TORONTO       WASHINGTON DC
Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.278 Filed 08/18/20 Page 5 of 56
                                                                       DICKINSON WRIGHT PLLC
 June 24, 2020
 Page 4

         Such unauthorized use of the Carhartt Marks is a direct and egregious infringement of our
 client’s trademark rights. The sale and distribution of these unauthorized counterfeit products
 containing the Carhartt Marks, creates a likelihood of confusion and will lead consumers to
 mistakenly believe such products were designed, manufactured and distributed by Carhartt, or on
 behalf of Carhartt. Our client has not approved such use of its marks.

         The purpose of this letter is to demand that you immediately cease and desist from any
 further use, sales, or display of the Carhartt Marks on any product. In this regard, we require that
 you provide us by no later than June 30, 2020, and in writing:

        1.    Confirmation that you have removed these products from any and all websites,
              retail stores, social media accounts, and any other location currently displaying,
              advertising and/or selling the same or similar variations. We are aware of other
              websites operated by you, including cozy-shirt.com, Tee-chip, Scalable Press,
              Gossgear, etc. This request applies to all related retail outlets;

        2.    Confirmation that you have ceased all sales of these unauthorized items through any
              retail channels, including the aforementioned websites, as well as any affiliated
              retail channels;

        3.    The identification of the designer, source, and manufacturer of these counterfeit
              products;

        4.    A full accounting of all inventory sold, the revenue collected and all inventory
              currently remaining in your possession bearing the Carhartt Marks; and

        5.    Your undertaking that you will permanently refrain from any further distribution,
              advertisement, promotion and sale of any product bearing a Carhartt Mark or any
              similar variations thereof.

        In addition, our client requires that you send all remaining inventory to our offices, to
 my attention at the address shown on this correspondence, by no later than June 30, 2020.

        Your prompt cooperation is appreciated. Please contact me with any questions.


                                                               Sincerely,



                                                               Jenny T. Slocum
 cc:    Carhartt, Inc.
 Enclosure


 DC 50824-1 479215v2


       ARIZONA           CALIFORNIA       FLORIDA          KENTUCKY          MICHIGAN

 NEVADA          OHIO         TENNESSEE          TEXAS         TORONTO           WASHINGTON DC
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    ENCLOSURE
         Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.280 Filed 08/18/20 Page 7 of 56
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https://www.teedoitbetter.com/stores/chstore                                              06/15/2020
         Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.281 Filed 08/18/20 Page 8 of 56
                                                                                      Page 2 of 2




https://www.teedoitbetter.com/stores/chstore                                              06/15/2020
Limited edition                                                                          Page 1 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.282 Filed 08/18/20 Page 9 of 56


                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $15.95 $18.95
                                                                                                              Style: Cloth Face Mask


                                                                                                                Cloth Face Mask                          

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:40:54 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-1?retailProductCode=90C8120C76F0B2-DE... 6/15/2020
Limited edition                                                                          Page 2 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.283 Filed 08/18/20 Page 10 of 56



                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

            Returns, Refunds, & Exchanges                               211 N Pennsylvania St. Suite 600
                                                                        Indianapolis, IN 46204
            Contact Us




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https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-1?retailProductCode=90C8120C76F0B2-DE... 6/15/2020
Limited edition                                                                          Page 1 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.284 Filed 08/18/20 Page 11 of 56


                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $15.95 $18.95
                                                                                                              Style: Cloth Face Mask


                                                                                                                Cloth Face Mask                          

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:40:06 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-2?retailProductCode=90C8120C76F0B2-3E...                                                      6/15/2020
Limited edition                                                                          Page 2 of 2
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                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

            Returns, Refunds, & Exchanges                               211 N Pennsylvania St. Suite 600
                                                                        Indianapolis, IN 46204
            Contact Us




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https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-2?retailProductCode=90C8120C76F0B2-3E...                                                       6/15/2020
Limited edition                                                                          Page 1 of 2
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                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $15.95 $18.95
                                                                                                              Style: Cloth Face Mask


                                                                                                                Cloth Face Mask                          

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:40:19 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-6?retailProductCode=90C8120C76F0B2-21...                                                      6/15/2020
Limited edition                                                                          Page 2 of 2
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                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

            Returns, Refunds, & Exchanges                               211 N Pennsylvania St. Suite 600
                                                                        Indianapolis, IN 46204
            Contact Us




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https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-6?retailProductCode=90C8120C76F0B2-21...                                                       6/15/2020
Limited edition                                                                          Page 1 of 2
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                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $15.95 $18.95
                                                                                                              Style: Cloth Face Mask


                                                                                                                Cloth Face Mask                          

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:39:46 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-4?retailProductCode=90C8120C76F0B2-00...                                                      6/15/2020
Limited edition                                                                          Page 2 of 2
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                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

            Returns, Refunds, & Exchanges                               211 N Pennsylvania St. Suite 600
                                                                        Indianapolis, IN 46204
            Contact Us




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Limited edition                                                                          Page 1 of 2
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                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $15.95 $18.95
                                                                                                              Style: Cloth Face Mask


                                                                                                                Cloth Face Mask                          

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:39:26 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-3?retailProductCode=90C8120C76F0B2-EF... 6/15/2020
Limited edition                                                                          Page 2 of 2
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                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

            Returns, Refunds, & Exchanges                               211 N Pennsylvania St. Suite 600
                                                                        Indianapolis, IN 46204
            Contact Us




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https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-3?retailProductCode=90C8120C76F0B2-EF... 6/15/2020
Limited edition                                                                          Page 1 of 2
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                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $15.95 $18.95
                                                                                                              Style: Cloth Face Mask


                                                                                                                Cloth Face Mask                          

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:39:07 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-5?retailProductCode=90C8120C76F0B2-85...                                                      6/15/2020
Limited edition                                                                          Page 2 of 2
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                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

            Returns, Refunds, & Exchanges                               211 N Pennsylvania St. Suite 600
                                                                        Indianapolis, IN 46204
            Contact Us




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https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-5?retailProductCode=90C8120C76F0B2-85...                                                       6/15/2020
Limited edition                                                                          Page 1 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.294 Filed 08/18/20 Page 21 of 56


                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $129.95 $149.95
                                                                                                              Style: Cloth Face Mask - 10 Pack


                                                                                                                Cloth Face Mask - 10 Pack                

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:37:21 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-1?retailProductCode=90C8120C76F0B2-DE... 6/15/2020
Limited edition                                                                          Page 2 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.295 Filed 08/18/20 Page 22 of 56



                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

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                                                                        Indianapolis, IN 46204
            Contact Us




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Limited edition                                                                          Page 1 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.296 Filed 08/18/20 Page 23 of 56


                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $66.95 $76.95
                                                                                                              Style: Cloth Face Mask - 5 Pack


                                                                                                                Cloth Face Mask - 5 Pack                 

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:37:00 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-1?retailProductCode=90C8120C76F0B2-DE... 6/15/2020
Limited edition                                                                          Page 2 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.297 Filed 08/18/20 Page 24 of 56



                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

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Limited edition                                                                          Page 1 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.298 Filed 08/18/20 Page 25 of 56


                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $42.95 $49.95
                                                                                                              Style: Cloth Face Mask - 3 Pack


                                                                                                                Cloth Face Mask - 3 Pack                 

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:36:34 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-1?retailProductCode=90C8120C76F0B2-DE... 6/15/2020
Limited edition                                                                          Page 2 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.299 Filed 08/18/20 Page 26 of 56



                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

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            Contact Us




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Limited edition                                                                          Page 1 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.300 Filed 08/18/20 Page 27 of 56


                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $129.95 $149.95
                                                                                                              Style: Cloth Face Mask - 10 Pack


                                                                                                                Cloth Face Mask - 10 Pack                

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:36:10 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-2?retailProductCode=90C8120C76F0B2-3E...                                                      6/15/2020
Limited edition                                                                          Page 2 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.301 Filed 08/18/20 Page 28 of 56



                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

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                                                                        Indianapolis, IN 46204
            Contact Us




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https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-2?retailProductCode=90C8120C76F0B2-3E...                                                       6/15/2020
Limited edition                                                                          Page 1 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.302 Filed 08/18/20 Page 29 of 56


                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $66.95 $76.95
                                                                                                              Style: Cloth Face Mask - 5 Pack


                                                                                                                Cloth Face Mask - 5 Pack                 

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:35:48 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-2?retailProductCode=90C8120C76F0B2-3E...                                                      6/15/2020
Limited edition                                                                          Page 2 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.303 Filed 08/18/20 Page 30 of 56



                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

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                                                                        Indianapolis, IN 46204
            Contact Us




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https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-2?retailProductCode=90C8120C76F0B2-3E...                                                       6/15/2020
Limited edition                                                                          Page 1 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.304 Filed 08/18/20 Page 31 of 56


                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $42.95 $49.95
                                                                                                              Style: Cloth Face Mask - 3 Pack


                                                                                                                Cloth Face Mask - 3 Pack                 

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:35:15 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-2?retailProductCode=90C8120C76F0B2-3E...                                                      6/15/2020
Limited edition                                                                          Page 2 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.305 Filed 08/18/20 Page 32 of 56



                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

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                                                                        Indianapolis, IN 46204
            Contact Us




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https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-2?retailProductCode=90C8120C76F0B2-3E...                                                       6/15/2020
Limited edition                                                                          Page 1 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.306 Filed 08/18/20 Page 33 of 56


                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $129.95 $149.95
                                                                                                              Style: Cloth Face Mask - 10 Pack


                                                                                                                Cloth Face Mask - 10 Pack                

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:35:26 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-6?retailProductCode=90C8120C76F0B2-21...                                                      6/15/2020
Limited edition                                                                          Page 2 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.307 Filed 08/18/20 Page 34 of 56



                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

            Returns, Refunds, & Exchanges                               211 N Pennsylvania St. Suite 600
                                                                        Indianapolis, IN 46204
            Contact Us




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https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-6?retailProductCode=90C8120C76F0B2-21...                                                       6/15/2020
Limited edition                                                                          Page 1 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.308 Filed 08/18/20 Page 35 of 56


                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $66.95 $76.95
                                                                                                              Style: Cloth Face Mask - 5 Pack


                                                                                                                Cloth Face Mask - 5 Pack                 

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:35:05 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-6?retailProductCode=90C8120C76F0B2-21...                                                      6/15/2020
Limited edition                                                                          Page 2 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.309 Filed 08/18/20 Page 36 of 56



                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

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                                                                        Indianapolis, IN 46204
            Contact Us




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Limited edition                                                                          Page 1 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.310 Filed 08/18/20 Page 37 of 56


                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $42.95 $49.95
                                                                                                              Style: Cloth Face Mask - 3 Pack


                                                                                                                Cloth Face Mask - 3 Pack                 

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:34:45 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-6?retailProductCode=90C8120C76F0B2-21...                                                      6/15/2020
Limited edition                                                                          Page 2 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.311 Filed 08/18/20 Page 38 of 56



                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

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            Contact Us




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Limited edition                                                                          Page 1 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.312 Filed 08/18/20 Page 39 of 56


                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $129.95 $149.95
                                                                                                              Style: Cloth Face Mask - 10 Pack


                                                                                                                Cloth Face Mask - 10 Pack                

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:34:24 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-4?retailProductCode=90C8120C76F0B2-00...                                                      6/15/2020
Limited edition                                                                          Page 2 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.313 Filed 08/18/20 Page 40 of 56



                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

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                                                                        Indianapolis, IN 46204
            Contact Us




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Limited edition                                                                          Page 1 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.314 Filed 08/18/20 Page 41 of 56


                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $66.95 $76.95
                                                                                                              Style: Cloth Face Mask - 5 Pack


                                                                                                                Cloth Face Mask - 5 Pack                 

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:34:05 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-4?retailProductCode=90C8120C76F0B2-00...                                                      6/15/2020
Limited edition                                                                          Page 2 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.315 Filed 08/18/20 Page 42 of 56



                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

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                                                                        Indianapolis, IN 46204
            Contact Us




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Limited edition                                                                          Page 1 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.316 Filed 08/18/20 Page 43 of 56


                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $42.95 $49.95
                                                                                                              Style: Cloth Face Mask - 3 Pack


                                                                                                                Cloth Face Mask - 3 Pack                 

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:33:46 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-4?retailProductCode=90C8120C76F0B2-00...                                                      6/15/2020
Limited edition                                                                          Page 2 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.317 Filed 08/18/20 Page 44 of 56



                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

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                                                                        Indianapolis, IN 46204
            Contact Us




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Limited edition                                                                          Page 1 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.318 Filed 08/18/20 Page 45 of 56


                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $129.95 $149.95
                                                                                                              Style: Cloth Face Mask - 10 Pack


                                                                                                                Cloth Face Mask - 10 Pack                

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:32:51 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-3?retailProductCode=90C8120C76F0B2-EF... 6/15/2020
Limited edition                                                                          Page 2 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.319 Filed 08/18/20 Page 46 of 56



                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

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                                                                        Indianapolis, IN 46204
            Contact Us




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Limited edition                                                                          Page 1 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.320 Filed 08/18/20 Page 47 of 56


                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $66.95 $76.95
                                                                                                              Style: Cloth Face Mask - 5 Pack


                                                                                                                Cloth Face Mask - 5 Pack                 

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:32:32 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




https://www.teedoitbetter.com/campaigns/-/-/stores/chstore/chr-3?retailProductCode=90C8120C76F0B2-EF... 6/15/2020
Limited edition                                                                          Page 2 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.321 Filed 08/18/20 Page 48 of 56



                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


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            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

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                                                                        Indianapolis, IN 46204
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Limited edition                                                                          Page 1 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.322 Filed 08/18/20 Page 49 of 56


                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $42.95 $49.95
                                                                                                              Style: Cloth Face Mask - 3 Pack


                                                                                                                Cloth Face Mask - 3 Pack                 

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:32:11 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




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Limited edition                                                                          Page 2 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.323 Filed 08/18/20 Page 50 of 56



                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

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                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $129.95 $149.95
                                                                                                              Style: Cloth Face Mask - 10 Pack


                                                                                                                Cloth Face Mask - 10 Pack                

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:31:04 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




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Limited edition                                                                          Page 2 of 2
          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.325 Filed 08/18/20 Page 52 of 56



                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

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                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $66.95 $76.95
                                                                                                              Style: Cloth Face Mask - 5 Pack


                                                                                                                Cloth Face Mask - 5 Pack                 

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:30:43 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
                                                                                                                size of face
                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




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                                                                                                           All products are made to order and printed to
                                                                                                           the best standards available. They do not
                                                                                                           include embellishments, such as rhinestones
                                                                                                           or glitter


                                                                                                           Shipping Info

                                                                                                           • Orders ship within 14-21 days for US orders
                                                                                                           • Shipping times will vary for international
                                                                                                             orders


                                                                                                           Learn more about our shipping rates here
                                                                                                           and our returns, refunds, and exchanges
                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

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                                                              Free shipping for any orders above $50.00

                                    What are you looking for?                                                                      Track your order     

            Entertainment       Interests    Family & Relationships    Jobs     Animals      Sports


            HomeCH StoreLimited edition



                 Our masks offer great everyday, basic protection, but please note these are not N95 masks. For CDC guidance on fabric masks, click here



                                                                                                              From CH Store

                                                                                                              Limited edition Mask

                                                                                                              $42.95 $49.95
                                                                                                              Style: Cloth Face Mask - 3 Pack


                                                                                                                Cloth Face Mask - 3 Pack                 

                                                                                                              Color: Black




                                                                                                              Qty: 1

                                                                                                                1             07:30:23 left to buy

                                                                                                                                Add To Cart



                                                                                                              Campaign Details

                                                                                                              ★ WORLDWIDE SHIPPING
                                                                                                              ★ Super Limited T-shirt Printing Sells Fast!
                                                                                                              Hurry up and get one before they disappear
                                                                                                              forever!
                                                                                                              ★ SAFE AND SECURE PAYMENT via
                                                                                                              SEEN | MC | DISC | AMEX | PAY PAL
                                                                                                              ★ Tips: Buy 2+ to save on shipping -
                                                                                                              Convenient international shipping!
                                                                                                              ★ HOW TO ORDER:
                                                                                                              1. Choose your product and order to order!
                                                                                                              2. Click on 'Buy now'
                                                                                                              3. Choose the size and quantity
                                                                                                              4. Enter your information and choose the
                                                                                                              payment method.
                                                                                                              5. Place the order.


                                                                                                              Product Details

                                                                                                              • Durable polyester cloth face covering
                                                                                                              • Finished size: 7" X 3.5"
                                                                                                              • Elastic bands to wrap around the ears for
                                                                                                                secure connection
                                                                                                              • Pleated covering that adjusts based on
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                                                                                                              • Machine washable in hot water, can be
                                                                                                                bleached and dried




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          Case 2:20-cv-12225-GCS-APP ECF No. 1-10, PageID.329 Filed 08/18/20 Page 56 of 56



                                                                                                           All products are made to order and printed to
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                                                                                                           or glitter


                                                                                                           Shipping Info

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                                                                                                           Learn more about our shipping rates here
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                                                                                                           policy here.

                                                                                                           Read about our latest update on COVID-19



                                                                                                           Tags

                                                                                                              Film            Jobs




                                                                                                           Share campaign


                                                                                                                      Share




                                                                                                            Report this campaign




            Service                            Explore                  Need Help                              English (United States)

            Track Order                        Popular Storefronts      1-833-933-1816
                                                                                                               $ USD
            FAQ                                Tags directory           Submit a Request

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